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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO

LAUREN ADELE OLIVER,
an individual,

        Plaintiff/Counterclaim-defendant,

vs.                                                        Case No. 1:20-CV-00237-KK-SCY

MEOW WOLF, INC., a Delaware
corporation; VINCE KADLUBEK,
an individual and officer; and
DOES 1-50,

        Defendants/Counterclaimants.

      NOTICE OF WITHDRAWAL OF MICHAEL WOODS AND MAUREEN DOLAN

        NOTICE is hereby given that Michael Woods and Maureen Dolan are withdrawing as

counsel of record on behalf of Defendants/Counterclaimants Meow Wolf, Inc. and Vince

Kadlubek in the above-referenced matter.

        Benjamin Allison, Rose Bryan, and Cole Wilson of Bardacke Allison LLP, along with any

other counsel of record on behalf of the foregoing Defendants/Counterclaimants, remain as counsel

for these Defendants/Counterclaimants in this matter.
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Dated: August 25, 2022.             Respectfully submitted:


                                    By:    /s/ Michael Woods
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                                           Maureen Dolan
                                           Rose Bryan
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                                           Michael Woods
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                                           Wolf, Inc. and Vince Kadlubek




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                                 CERTIFICATE OF SERVICE
       I certify that on August 25, 2022, I caused a true and correct copy of the foregoing filing

to be filed through the Court’s CM/ECF system which caused all parties and counsel entitled to

receive notice to be served electronically as more fully described on the Notice of Electronic Filing.


                                                              /s/ Michael Woods
                                                              Michael Woods




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